Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1765 Filed 09/14/20 Page 1 of 8




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



 MARTIN H. LEAF,                          Case No.: 2:20-cv-11491-SJM-DRG

             Plaintiff,                   Honorable Stephen J. Murphy, III
       v.
                                          Magistrate Judge David R. Grand
 NIKE INC.; WIEDEN+KENNEDY,
 INC.; FACEBOOK INC.; GOOGLE
 LLC; YOUTUBE, LLC; and
 TWITTER, INC.,

             Defendants.



   DEFENDANTS GOOGLE LLC AND YOUTUBE, LLC’S MOTION TO
DISMISS AND NOTICE OF JOINDER/CONCURRENCE WITH NIKE, INC.’S
                     MOTION TO DISMISS
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1766 Filed 09/14/20 Page 2 of 8




     DEFENDANTS GOOGLE LLC AND YOUTUBE, LLC’S NOTICE OF
                    MOTION TO DISMISS

      PLEASE TAKE NOTICE that, upon the accompanying brief, as well as all

prior papers and proceedings in this action, Defendants Google LLC and YouTube,

LLC move this Court for an Order dismissing this case under Fed. R. Civ. P. 12(b)(6).

      This Motion will be heard before the Honorable Stephen J. Murphy, III, United

States District Judge, at the Theodore Levin U.S. Courthouse, 231 W. Lafayette Blvd.,

Room 252, Detroit, Michigan, 48226, on a date and time to be set by the Court.

                                  Respectfully submitted,

Dated: September 14, 2020         WILSON SONSINI GOODRICH & ROSATI
                                   Professional Corporation


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                                          -2-
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1767 Filed 09/14/20 Page 3 of 8




     DEFENDANT GOOGLE LLC AND YOUTUBE, LLC’S NOTICE OF
      JOINDER AND BRIEF IN SUPPORT OF MOTION TO DISMISS




                      Concise Statement of Issues Presented

      Should Plaintiff’s claims against Defendants Google LLC and YouTube, LLC

(collectively “the Google Defendants”) be dismissed: (1) for the same reasons stated

in Defendant Nike’s Motion to Dismiss, which the Google Defendants hereby join;

and (2) under Fed. R. 12(b)(6) because the Google Defendants are entitled to

immunity under Section 230(c)(1) of the Communications Decency Act?




                                         -3-
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1768 Filed 09/14/20 Page 4 of 8




                   Controlling or Most Appropriate Authority

      Jones v. Dirty World Entm’t Recordings LLC, 755 F.3d 398 (6th Cir. 2014).

      O’Kroley v. Fastcase, Inc., 831 F. 3d 352 (6th Cir. 2016)




                                         -4-
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1769 Filed 09/14/20 Page 5 of 8




       For its response to Plaintiff’s “First Amended Complaint” (DE 16), Defendants

Google LLC and YouTube, LLC (collectively “the Google Defendants”) hereby give

notice that they join and concur in the relief requested by Defendant Nike, Inc.

(“Nike”) in its Motion to Dismiss (DE 23). Nike’s Motion is fully briefed, with

Plaintiff having filed a Response and Nike having filed a Reply. Because Plaintiff’s

claims against the Google Defendants are derivative of his claims against Nike,

granting Nike’s Motion to Dismiss also requires dismissal of the claims against the

Google Defendants.1

       In addition, the Google Defendants move pursuant to Fed. R. Civ. P. 12(b)(6) to

dismiss Plaintiff’s First Amended Complaint on the separate ground that Plaintiff’s

claims against them are barred by Section 230(c)(1) of the Communications Decency

Act, 47 U.S.C. 230(c)(1).2 Accord DE 26 at 13-17 (Defendant Facebook’s Motion to

Dismiss). “Section 230 of the CDA immunizes providers of interactive computer




   1
     Plaintiff has moved for leave from the Court to amend the First Amended
Complaint (DE 38). While the Google Defendants also join Nike in opposing
Plaintiff’s motion for leave to amend (DE 48), if Plaintiff were granted leave to file a
Second Amended Complaint, the Google Defendants reserve their right to make
additional arguments in support of a motion to dismiss that complaint.
   2
    In accordance with E.D. Mich. L.R. 7.1(a), counsel for the Google Defendants
explained the legal basis for this Motion to Dismiss and requested Plaintiff’s
concurrence in the relief that it seeks, which counsel for Plaintiff refused by email
dated September 11, 2020.
                                           -5-
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1770 Filed 09/14/20 Page 6 of 8




services against liability arising from content created by third parties.” Jones v. Dirty

World Entm’t Recordings LLC, 755 F.3d 398, 406 (6th Cir. 2014). Applying Section

230 is particularly appropriate at the motion-to-dismiss stage because Section 230

provides “an immunity from suit rather than a mere defense to liability” that is

“effectively lost if a case is erroneously permitted to go to trial.” Nemet Chevrolet,

Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 254 (4th Cir. 2009) (internal

citations omitted) (emphasis in original); accord Jones, 755 F.3d at 417.

      “[C]ourts have recognized that § 230 bars a claim if (1) the defendant asserting

immunity is an interactive computer service provider, (2) the particular information at

issue was provided by another information content provider, and (3) the claim seeks to

treat the defendant as a publisher or speaker of that information.” Jones, 755 F.3d at

409. Each element is met here. First, the Google Defendants are indisputably the

providers of an “interactive computer service.” See O’Kroley v. Fastcase, Inc., 831 F.

3d 352, 355 (6th Cir. 2016) (“Google is an interactive computer service”); Gonzalez v.

Google, Inc., 282 F. Supp. 3d 1150 (N.D. Cal. 2017) (claims against YouTube barred

by Section 230). Second, Plaintiff admits that the promotional video was created by

Nike and/or Wieden + Kennedy. FAC ¶¶ 2–3. There is no suggestion that the Google

Defendants had anything to do with creating or developing any of the content at issue.

Third, while Plaintiff makes no actual allegations against the Google Defendants

specifically, the only even possible basis for his claims is that the Google Defendants
                                           -6-
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1771 Filed 09/14/20 Page 7 of 8




are somehow liable for displaying or publishing a video uploaded by Nike or a third

party. That is precisely what Section 230 prohibits. See O’Kroley, 831 F.3d at 355 (“If

a website displays content that is created entirely by third parties, ... [it] is immune

from claims predicated on that content.”) (quoting Jones, 755 F.3d at 408).

      WHEREFORE, the Google Defendants respectfully request that this Court

grant the Motions to Dismiss, dismiss the First Amended Complaint with prejudice as

to the Google Defendants, and award any other relief this Court finds just and

equitable.

                                     Respectfully submitted,

Dated: September 14, 2020            WILSON SONSINI GOODRICH & ROSATI
                                      Professional Corporation


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                                            Attorneys for Defendants
                                            Google LLC and YouTube, LLC




                                             -7-
Case 2:20-cv-11491-SJM-DRG ECF No. 51, PageID.1772 Filed 09/14/20 Page 8 of 8




                            CERTIFICATE OF SERVICE

      I hereby certify that on September 14, 2020, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system, which will provide notice of

such filing to all parties and counsel of record.



                                                    /s Brian M. Willen




                                            -8-
